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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

INVESTCOM CONSORTIUM                   §
HOLDING SA and SCANCOM                 §
LIMITED,                               §
             Plaintiffs,               §
                                       §
vs.                                    §       CIVIL ACTION NO. 4:08-CV-2786
CHRISTIAN K. WILMOT; WCW               §
INTERNATIONAL, INC.; GRAND             §
VIEW MANAGEMENT LIMITED;               §
and RICHMOND AGGREY;                   §
                                       §
             Defendants.               §
                                       §

       PLAINTIFFS' APPLICATION FOR A PRELIMINARY INJUNCTION
        Investcom Consortium Holding SA ("Investcom") and Scancom Limited

("Scancom") file this application for a preliminary injunction to enjoin Grand View

Management Limited ("Grand View"), and Richmond Aggrey ("Aggrey") from

pursuing an injunction against Investcom and Scancom in the civil courts of Ghana

that would prevent Investcom and Scancom from pursuing this lawsuit.

                             Preliminary Statement
        Investcom and Scancom brought this lawsuit to confirm Investcom's

arbitration award against Aggrey under the New York Convention, and to recover

the damages they have incurred and continue to incur because of Defendants'

fraudulent scheme to usurp 20 percent of Scancom's stock.

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       On Monday, November 17, 2008, the High Court of Justice in Ghana will

hold a hearing on Scancom's and Investcom's motion to stay an anti-suit injunction

entered against them in December 2007 to prevent them from pursuing arbitration

against Aggrey in the London Court of International Arbitration ("LCIA"). See

Exhibit 14, Declaration of Nana Yaw Ntrakwah. At that hearing, Aggrey and

Grand View will almost certainly seek to expand that injunction to restrain

Investcom and Scancom from pursuing this lawsuit, or will seek a new injunction

for that purpose. If Aggrey and Grand View obtain such an injunction against

Investcom and Scancom, it will effectively terminate this action, causing

irreparable harm to Investcom and Scancom and interfering with this Court's

exercise of its jurisdiction.

       Therefore, to protect this Court's jurisdiction, this Court should enjoin

Aggrey and Grand View from pursuing any injunction from the Ghanaian courts

that would prevent Investcom's and Scancom's participation in this lawsuit.

Plaintiffs request that the Court grant oral argument on this motion.

                                    I.     Facts

       Scancom was incorporated in Ghana on April 14, 1994 as a mobile

telecommunications company. In January 1996, after Scancom secured a license

from the Ghanaian government to operate in Ghana, Investcom became a

shareholder in Scancom pursuant to a Shareholders Agreement.            Under the

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Shareholders Agreement, all Scancom shareholders agreed that any dispute

concerning the Shareholders Agreement would be arbitrated in London before the

LCIA. See Exhibit 3, Shareholders Agreement at § 13.5.

      In April 1996, the Ghanaian Ministry of Transport and Communications (the

"Ministry") suddenly and unexpectedly revoked Scancom's authorization to

operate in Ghana claiming that Scancom did not have enough Ghanaian

shareholders, and suggesting that if Aggrey (an acquaintance of the Minister of

Transport and Communications) were made a shareholder, the problem would be

resolved. Scancom's shareholders and Aggrey therefore executed an amendment to

the Shareholders Agreement (the "Amendment Agreement"), which incorporated

the Shareholders Agreement, making Aggrey the owner of 20 percent of Scancom.

See Exhibit 4, Amendment Agreement. Aggrey paid nothing for his shares, but

borrowed $178,200 from Investcom to cover the cost of the shares in a written

agreement. See Exhibit 5, Promise to Repay. Aggrey also assumed an obligation

to provide working capital to Scancom of nearly $1.4 million.

      In May 1999, when Scancom had yet to make a profit and was still

struggling to survive, Aggrey formally resigned as both a Scancom board member

and shareholder. At the time of his departure, Aggrey had never repaid the loan to

Investcom, and never contributed a penny in working capital. Aggrey sold his

shares to Grand View, a Cayman Islands company owned and controlled by his

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cousin, Christian K. Wilmot ("Wilmot"), whom Aggrey had nominated to serve on

Scancom's board. Grand View purchased Aggrey's entire 20 percent interest in

Scancom for cedis 20,000,000 (which in 1999 was approximately $5,600-$8,500).

See Exhibit 6, Shares Transfer Agreement.

      In August 1999, after Grand View failed to contribute to a required capital

call, Grand View's interest in Scancom was diluted from 20 percent to 1.83

percent. In September 1999, Wilmot filed a lawsuit in Ghana's High Court of

Justice on behalf of Grand View disputing the legitimacy of the capital call and

seeking a declaration that Grand View was entitled to 20% of the shares in

Scancom.    The next day, on September 7, 1999, Scancom held Board and

shareholders meetings in which it was agreed that it was in Scancom's best

interests to settle the litigation with Grand View so that the company could focus

on its expanding business.      As part of a global settlement (the "Global

Settlement"), Investcom agreed to transfer 338,000,000 additional shares to Grand

View in consideration for Grand View's agreeing to drop the litigation and sign a

Memorandum of Undertaking (the "Undertaking"). This increased Grand View's

interest to 5 percent of Scancom. On September 10, 1999, Wilmot executed the

Undertaking on behalf of Grand View, which reads as follows:

            By THIS MEMORANDUM OF UNDERTAKING We of
            Grand View Management Limited represented by Chris
            Wilmot do hereby irrevocably confirm that the transfer of
            shares in Scancom Limited held by Richmond Aggrey to
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            Grand View Management Limited and the subsequent
            issue of [sic] new Share Certificate to Grand View
            Management Limited thereby extinguishes any rights
            and/or claims whatsoever that Richmond Aggrey may now
            have or hereafter have in respect of the shares held by him
            and hereby undertake to indemnify Scancom Limited …
            and all individual shareholders thereof against any liability
            whatsoever that Scancom Limited or its individual
            shareholders may incur as a result of any claim by
            Richmond Aggrey.
            We further hereby confirm that all previous Board and
            Shareholders Minutes of Scancom Limited up to date
            hereof including, but not limited to, the Capital Call made
            pursuant to the Shareholders Resolution of May 31, 1999
            is a true and accurate account of facts and event indicated
            therein.
See Exhibit 7, Memorandum of Undertaking.

      In December 1999, Wilmot expressed a desire to sell Grand View's shares in

Scancom. After a day-long arms-length negotiation, Grand View and Investcom

entered into a Share Transfer Agreement (the "December Share Transfer

Agreement"), pursuant to which Grand View agreed to sell Investcom its 5-percent

share in Scancom for $500,000.        See Exhibit 8, December Share Transfer

Agreement. At Wilmot's instruction, Investcom paid Wilmot $3,000 in cash,

transferred $297,000 to Wilmot's personal bank, and transferred the remaining

$200,000 to WCW International, Inc. (a company owned and controlled by

Wilmot) in Houston. See Exhibit 9, Citibank Payment Records.

      By early 2006, Scancom's and Investcom's fortunes had turned for the better,

and both companies were enjoying unprecedented success.           In March 2006,

apparently following the news of Scancom's and Investcom's success, Aggrey

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reappeared, and wrote to Scancom demanding that his original 20 percent share —

which he had sold to Grand View in 1999 — be returned to him. In July 2006,

after Scancom refused Aggrey's outrageous demands, Aggrey filed an action

against Scancom, Investcom, and Grand View in the High Court of Justice in

Ghana (the "Ghana Action"), seeking restoration of his original interest in

Scancom. See Exhibit 10, Statement of Claim; Exhibit 14.

      Even though Grand View was named as a defendant in the Ghana Action,

Grand View filed pleadings and took steps in that litigation which clearly aligned it

with Aggrey. For example, the responsive pleading Grand View filed in the Ghana

Action admitted every material allegation of Aggrey's claim and made additional

allegations against Scancom and Investcom, even though those allegations were

inconsistent with contractual and legal documents previously executed by Grand

View. See Exhibit 11, Grand View's Statement of Defense.

      Following some initial procedural wrangling in the Ghanaian courts,

Investcom filed a Request for Arbitration with the London Court of International

Arbitration ("LCIA") in January 2007, seeking to resolve the dispute through

arbitration as required by the explicit terms of the Shareholders Agreement, as

incorporated into the Amendment Agreement. Exhibit 14. The following month,

the law firm representing Aggrey sent a letter to the LCIA Tribunal, requesting that

the arbitration not proceed on the grounds that the dispute referred to arbitration

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was also the subject of proceedings in Ghana. After several communications with

the parties and requests for submissions on the issues raised by the law firm's letter,

the LCIA Tribunal rejected Aggrey's request to stay the arbitration. Exhibit 12,

Procedural Order.

      While the LCIA Arbitration was pending, Aggrey applied for an anti-suit

injunction in the Ghana Action to restrain Investcom from pursuing the LCIA

Arbitration. Exhibit 1. Grand View also applied for an anti-suit injunction, but

withdrew its application after it was removed as a party to the LCIA Arbitration.

Aggrey pursued his application, however, which was granted on December 6,

2007. Exhibit 14. That anti-suit injunction restrained Investcom from taking any

further action in the arbitration. Exhibit 2.

      By the time the injunction issued, the LCIA Tribunal had already heard the

evidence and taken the matter under submission, and thus no further participation

was required by Investcom in order for the LCIA Tribunal to make its ruling. The

LCIA Tribunal issued its Partial Final Award on February 15, 2008. See Exhibit

13, Partial Final Award; Exhibit 14. As part of that award, the LCIA Tribunal

reached the following conclusions:

             •    No trust arrangement existed relating to Aggrey's shares or
                  interest in Scancom.
             •    Aggrey transferred the legal and beneficial interest in his shares
                  in Scancom to Grand View.
             •    Grand View transferred the legal and beneficial interest in its
                  shares in Scancom to Investcom.
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              •     Aggrey has no claim against Investcom in law or in equity in
                    relation to those shares.
              •     Aggrey breached the arbitration clause of the Shareholders
                    Agreement by pursuing his claim against Investcom in the
                    Ghanaian courts.
Exhibit 13 at p. 45. As a result of the Ghanaian anti-suit injunction, however,

Investcom has been unable to continue its participation in the arbitration. The only

steps remaining to be taken by the LCIA Tribunal, however, are to assess the

amount of costs and interest to be awarded, and determine the amount of

Investcom's damages for Aggrey's breach of the arbitration clause of the

Shareholders Agreement. Id. at p. 44, paras. 222, 226-27.

       Investcom and Scancom initiated the present lawsuit in this Court ("the U.S.

Action") on September 18, 2008, seeking an order confirming the LCIA arbitral

award pursuant to the New York Convention (9 U.S.C. § 207), and also seeking a

declaratory judgment and damages for Defendants' breaches of their contracts with

Investcom and Scancom. Exhibit 15, Ryan Declaration. 1On October 15, 2008,

Aggrey filed a motion to dismiss alleging, among other things, that the Court

lacked personal jurisdiction over him.1            Plaintiffs filed their First Amended

Complaint on October 29, 2008.



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   Before it may issue an injunction when there is a pending motion to dismiss for lack of
personal jurisdiction, the Court must first determine that it has personal jurisdiction over the
party to be enjoined. Enterprise International, Inc. v. Corporacion Estatal Petrolera
Ecuatoriana, 762 F.2d 464, 470-71 (5th Cir.1985). When a district court considers a motion to
dismiss without an evidentiary hearing while there is a pending motion for preliminary
injunction, the plaintiff's burden is met by the presentation of a prima facie case for personal
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                              II.    Law and Analysis

A.    The usual preliminary injunction factors do not apply to anti-suit
injunctions
      The customary factors that are used to analyze the propriety of granting a

preliminary injunction are whether: (1) there is a substantial likelihood that the

moving party will prevail on the merits, (2) there is a substantial threat that the

moving party will suffer irreparable harm in the absence of an injunction, (3) the

threatened injury to the moving party outweighs the threatened harm that the

injunction may do to the non-moving party, and (4) the injunction will not disserve

the public interest. Karaha Bodas Co. v. Perusahaan Pertambangan Minyak Dan

Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003).

      However, an injunction that is aimed at restraining a foreign proceeding,

either completely or in part, is a subspecies of a preliminary injunction, and so the

suitability of such relief depends on considerations unique to anti-suit injunctions.

E. & J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 990-91 (9th Cir. 2006);

Karaha Bodas, 335 F.3d at 364.            Therefore, the four general prerequisites

applicable to preliminary injunctions in general do not apply to an anti-suit




jurisdiction. DeMelo v. Toche Marine Inc., 711 F.2d 1260 (5th Cir. 1983), citing Brown v.
Flowers Industries, Inc., 688 F.2d 328, 332 (5th Cir.1981).
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injunction.2 Karaha Bodas, 335 F.3d at 364 n.19; Commercializadora Portimex,

S.A. de CV v. Zen-Noh Grain Corp., 373 F.Supp.2d 645, 649 (E.D. La. 2005).

B.     The Court must balance domestic judicial concerns (such as protection
       of its jurisdiction) against principles of international comity
       A federal court may enjoin persons subject to its jurisdiction from

prosecuting actions in foreign courts. Karaha Bodas, 335 F.3d at 364; Kaepa, Inc.

v. Achilles Corp., 76 F.3d 624, 626 (5th Cir. 1996). The general rule is that

proceedings in different jurisdictions should be allowed, at least until one court

renders a final judgment. Laker Airways Ltd. v. Sabena, Belgian World Airlines,

731 F.2d 909, 926-27 (D.C. Cir. 1984); Karaha Bodas, 335 F.3d at 372 n.59.

       An injunction against the prosecution of a foreign proceeding may be

appropriate when the foreign litigation would: (1) frustrate a policy of the forum

issuing the injunction, (2) be vexatious or oppressive, (3) threaten the issuing

court's in rem or in personam jurisdiction, or (4) cause prejudice or offend other

equitable principles. Kaepa, Inc., 76 F.3d at 627 n. 9; China Trade & Dev. v. M.V.

Choong Yong, 837 F.2d 33, 35 (2d Cir. 1987) (injunction appropriate to protect

court's in personam jurisdiction).

       Before issuing an injunction directed at a foreign proceeding, however, the

Court must “balance domestic judicial interests against concerns of international

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  Although the traditional preliminary injunction factors do not apply, Plaintiffs would be entitled
to a preliminary injunction under either the traditional standard or the anti-suit injunction
standard.
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comity.” Karaha Bodas, 335 F.3d at 366. The Fifth Circuit has adopted a test that

weighs the need to protect the court's jurisdiction against the need to defer to

principles of international comity. Id. (citing Kaepa, Inc., 76 F.3d at 627). In

applying the test, the Fifth Circuit has rejected the approach taken by some other

circuits, which “elevates principles of international comity to the virtual exclusion

of essentially all other considerations.” Kaepa, Inc., 76 F.3d at 627. Instead, the

Fifth Circuit has noted that “notions of comity do not wholly dominate [the]

analysis to the exclusion of these other concerns.” Karaha Bodas Co., 335 F.3d at

366.

C.     The preliminary injunction sought protects the Court's jurisdiction and
       preserves principles of international comity
       While the relief Investcom and Scancom seek is in the nature of an anti-suit

injunction, it is not a traditional anti-suit injunction, because the relief sought is

narrower than a typical anti-suit injunction. Investcom and Scancom do not seek

to terminate or even affect the Ghana Action; they merely seek to prevent Aggrey

and Grand View from interfering with this Court's jurisdiction. A typical anti-suit

injunction would completely enjoin a litigant from initiating or prosecuting a civil

action in a foreign jurisdiction, and it thus would be a complete restraint on a

foreign tribunal's jurisdiction. That type of anti-suit injunction essentially gives the

issuing court exclusive jurisdiction over a dispute, something which is generally


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disfavored. See Laker Airways Ltd., 731 F.2d at 926-27; Karaha Bodas, 335 F.3d

at 372 n.59.

      However, the anti-injunction injunction requested by Investcom and

Scancom here is narrow and restrained. It would only enjoin Aggrey and Grand

View from pursuing an anti-suit injunction directed at this lawsuit, which would

thus be a minimal restraint on the Ghana court's jurisdiction. This injunction

would ensure that this Court and the Ghana court each retain jurisdiction over the

U.S. Action and the Ghana action, respectively, which is the state of affairs

preferred under the Karaha Bodas analysis. In contrast, if Aggrey and Grand View

are allowed to obtain an anti-suit injunction against Investcom and Scancom, it

would effectively terminate this action and thus divest this Court of its jurisdiction

over the U.S. Action.

      Because Aggrey and Grand View have both sought an anti-suit injunction

before, and Aggrey has obtained one before, they will likely seek another

injunction to restrain Investcom and Scancom from pursuing the U.S. Action.

Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren, 361 F.3d 11, 19 (1st

Cir. 2004) (acknowledging that a court must consider the prior conduct of the

parties, including "their good faith of lack thereof."). And because there will be a

hearing on the current injunction on Monday, November 17, 2008, the issue will be

before the High Court of Justice and it could grant another injunction against

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Scancom and Investcom before this Court has the opportunity to rule. Because

Investcom and Scancom are parties to the Ghana Action, are present in Ghana, and

subject to the jurisdiction of the High Court of Justice Ghana, they cannot

disregard an anti-suit injunction issued that court without suffering the penalties for

contempt of the Ghanaian court's order. Therefore, a Ghanaian court anti-suit

injunction would effectively terminate the U.S. Action and preclude Investcom and

Scancom from enforcing the Partial Final Award and obtaining the other relief they

seek. Thus, irreparable harm will result if this Court does not grant a preliminary

injunction enjoining Aggrey and Grand View from seeking such an injunction

against Investcom and Scancom.

      1.     The preliminary injunction sought is needed to protect this
             Court's jurisdiction
      Courts have the duty to protect their own jurisdiction, so that they can

provide justice to parties subject to their jurisdiction. Karaha Bodas, 335 F.3d at

372; Laker Airways, 731 F.2d at 927, 929-30; Kirby v. Norfolk S. Ry. Co., 71

F.Supp.2d 1363, 1371 (N.D. Ga. 1999). Thus, when a foreign tribunal seeks to

assume exclusive jurisdiction over a dispute, an injunction may be necessary to

protect a federal court's validly-invoked jurisdiction.      Gau Shon Co., Ltd. v.

Bankers Trust Co., 956 F.2d 1349, 1356 (6th Cir. 1992); Laker Airways, 731 F.2d

at 930. There are essentially two instances when this need will arise: (1) in in rem

or quasi in rem actions, jurisdiction is threatened when a foreign court orders the
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transfer of property to another location; and (2) in in personam actions, jurisdiction

is threatened when a foreign proceeding attempts to terminate the United States

action. China Trade & Dev., 837 F.2d at 35.

      The preliminary injunction requested here is narrowly tailored to ensure that

the injunction only serves the limited purpose of protecting the Court's jurisdiction.

Republic of Phillipines Westinghouse Elec. Co., 43 F.3d 65, 75 (3d Cir. 1995)

(stating that "courts in the United States [should] tailor their remedies to avoid

undue interference with the domestic activities of sovereign nations.").          The

injunction would not restrain Aggrey or Grand View from continuing to participate

in the Ghana Action. Investcom and Scancom only ask the Court to issue an

injunction that protects this Court's jurisdiction by preventing a Ghanaian court

from interfering with the U.S. Action.

      2.     The preliminary injunction sought would preserve principles of
             international comity by allowing multiple lawsuits
      Comity is the recognition and respect that one sovereign nation affords the

official acts of another sovereign nation, taking into account international duties

and conveniences, as well as the rights of citizens and persons who are under the

protection of its laws. Hilton v. Guyot, 159 U.S. 113, 163-64 (1895); Karaha

Bodas, 335 F.3d at 371. Comity interests are only implicated when a case involves

a public international dispute and when prior steps in resolving a dispute have


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occurred in international fora. Karaha Bodas, 335 F.3d at 371; Kaepa, 76 F.3d at

627.

       In this case, the interests of international comity implicated in the question

of whether to issue the injunction are minimal, and are far outweighed by the need

to prevent inequitable harm and protect the Court's jurisdiction. First, the present

case does not involve public international issues. Karaha Bodas, 335 F.3d at 372;

Kaepa, 76 F.3d at 627. Investcom, Scancom, Aggrey, and Grand View are all

private individuals and entities and their dispute is based on private contracts.

There is no public conflict between the United States, Ghana, or any other

sovereign.

       In addition, the requested injunctive relief is narrowly tailored to avoid

implicating the interests of international comity. See Westinghouse, 43 F.3d at 75.

An anti-injunction injunction will not deprive the Ghanaian court of jurisdiction or

interfere with the Ghana Action; it would simply preserve this Court's jurisdiction.

Therefore, granting the injunction would not be an attack on the judicial power of

another sovereign nation, and there is thus no risk that the interests of international

comity will be adversely affected by the requested anti-injunction injunction.

Karaha Bodas, 335 F.3d at 373.

       Further, it would not set an undesirable precedent if the anti-injunction

injunction is granted, because the injunction would not dissolve mutual respect for

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the judicial proceedings of sovereign nations or distort authority granted under a

specific law. Id. Rather, the injunction would only serve to maintain the pro-

comity rule that multiple proceedings in different jurisdictions should be allowed.

Laker Airways, 731 F.2d 926-27.

      3.     The injunction sought would further the New York Convention
             by ensuring the prosecution of multiple lawsuits
      Finally, following the Fifth Circuit's reasoning in Karaha Bodas, the

injunction sought by Investcom and Scancom would further the interests and

purposes of the New York Convention. In Karaha Bodas, which involved a suit to

enforce a Swedish tribunal's arbitral award pursuant to the New York Convention,

the Fifth Circuit vacated the district court's anti-suit injunction that was directed at

ending an Indonesian action to annul the same arbitral award. Id. at 359-63. The

Fifth Circuit's decision was heavily influenced by the framework and purposes of

the New York Convention. Id. at 366-74. Because the New York Convention

allows for and even assumes that there will be proceedings in multiple jurisdictions

for the enforcement and annulment of an arbitral award, the Fifth Circuit found

that concerns about the moving party's potential hardship and expense, the

vexatious nature of the Indonesian action, the duplicative nature of the claims, and

the need to protect the district court's jurisdiction did not outweigh the need to

further the purposes of the New York Convention. Id. at 368-71. The Fifth Circuit

stressed that the New York Convention's framework strengthened the concerns of
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international comity by allowing multiple lawsuits in different jurisdictions. Id. at

371-74. Therefore, the Fifth Circuit ultimately concluded that the interests of

international comity as expressed in the New York Convention outweighed the

interest in preventing vexatious and oppressive litigation. Id. at 374.

      In the present lawsuit, Investcom and Scancom's first cause of action is

confirmation of the LCIA arbitral award pursuant to the New York Convention (9

U.S.C. § 207). Thus, by enjoining Aggrey and Grand View from pursuing and

obtaining a Ghanaian anti-suit injunction and ensuring concurrent proceedings in

foreign courts, the Court will promote the goals of the New York convention, and

the interests of comity. Id. at 371-74. Conversely, if the Court does not issue an

injunction, it will tacitly permit Aggrey and Grand View to obtain an anti-suit

injunction directed at terminating the U.S. Action, and thus permit Aggrey and

Grand View to extinguish all other lawsuits that have any relationship to the Ghana

Action, even if those disputes are not identical to or duplicative of the Ghana

Action. This would run counter to the purposes of the New York Convention. See

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 639 n.21

(1985) ("The utility of the Convention in promoting the process of international

commercial arbitration depends upon the willingness of national courts to let go of

matters they normally would think of as their own.").



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      D.      The Court should not require Plaintiffs to provide security

      Investcom and Scancom ask that the Court dispense with the obligation to

provide security under Rule 65(c) of the Federal Rules of Civil Procedure. As

entry of a preliminary injunction (1) is in aid of and will preserve the Court’s

jurisdiction, and (2) Aggrey and Grand View will suffer no costs and expenses,

other than those already associated with defending this civil action, the Court may

order that no security be provided. See, e.g., Kaepa, Inc. v. Achilles Corp., 76 F.3d

624, 628 n.20 (5th Cir. 1996); Corrigan Dispatch Co. v. Casa Guzman, 569 F.2d

300, 303 (5th Cir. 1978); Magdison v. Duggan, 180 F.2d 473, 479 (8th Cir. 1950);

ProBatter Sports, L.L.C. v. Joyner Techs., Inc., 463 F.Supp.2d 949, 958 (N.D.

Iowa 2006).     In the alternative, if the Court finds that security is warranted,

Investcom and Scancom assert that only a nominal amount, no greater than

$1,000.00, be imposed.

                                 III.   Conclusion

      Aggrey and Grand View will almost certainly pursue and obtain an

injunction in the Ghana Action enjoining Investcom and Scancom from

participating in the U.S. Action. If Aggrey and Grand View are permitted to seek

and obtain such an injunction, Investcom and Scancom will suffer irreparable

harm, the Court will be deprived of its jurisdiction, and the interests of

international comity will be adversely affected. To prevent this irreparable harm

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and protect its own jurisdiction, the Court should enjoin Aggrey and Grand View

from pursuing or obtaining an injunction in the Ghanaian court system that would

frustrate or prevent the prosecution of the U.S. Action.

                                       Respectfully submitted,

                                       /s/ Sean Gorman

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                      CERTIFICATE OF CONFERENCE

      I conferred with counsel for Defendants on November 14, 2008, and counsel
cannot agree about the disposition of this application.

                                      /s/ Stephen M. Ryan
                                      ______________________________
                                      Stephen M. Ryan


                         CERTIFICATE OF SERVICE

       A copy of Plaintiffs' Application for Preliminary Injunction was served on
all counsel of record listed below by a Notice of Electronic Filing generated by the
Southern District of Texas Electronic Case Filing system.

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                                      /s/ Stephen M. Ryan
                                      ______________________________
                                      Stephen M. Ryan




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